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                        IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                      Clarksburg Division
__________________________________________                                    ELECTRONICALLY
                                                  )                                 FILED
VALHALLA HOUSING III, LLC,                        )                                09/10/2020
                                                                            U.S. DISTRICT COURT
a West Virginia limited liability company,        )
                                                                            Northern District of WV
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )                 1:20-CV-223 (Kleeh)
                                                  )       Case No. ______________
GUILFORD REALTY, LLC,                             )
a Delaware limited liability company,             )
                                                  )
GUILFORD TAX CREDIT FUND 27, LP,                  )
a Delaware limited partnership,                   )
                                                  )
HUNT ELP, LTD.,                                   )
a Texas limited partnership,                      )
                                                  )
1998 FUND XVIII SERIES H, LTD.,                   )
an Alabama limited partnership,                   )
                                                  )
1997 FUND XV SERIES A, LTD.,                      )
an Alabama limited partnership, and               )
                                                  )
GUILFORD CORPORATE TAX                            )
CREDIT FUND XIX, LTD.,                            )
an Alabama limited partnership,                   )
                                                  )
               Defendants.                        )
__________________________________________)

                                 NOTICE OF REMOVAL

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Guilford Realty, LLC

(“Guilford Realty”), Guilford Tax Credit Fund 27, LP (“Guilford 27”), Hunt ELP, Ltd. (“Hunt

ELP”), 1998 Fund XVIII Series H, Ltd. (“1998 Fund”), 1997 Fund XV Series A, Ltd. (“1997

Fund”), and Guilford Corporate Tax Credit Fund XIX, Ltd. (“Guilford XIX”) (collectively,
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“Defendants”), by and through undersigned counsel, give notice of their removal to the United

States District Court for the Northern District of West Virginia of the above-captioned proceeding,

which was filed by Plaintiff Valhalla Housing III, LLC (“Valhalla”) in the Circuit Court of

Monongalia County, West Virginia, as Civil Action No. 20-C-230. Defendants further state the

following:

       1.      Valhalla filed a Complaint against Defendants on or about August 11, 2020 in the

Circuit Court of Monongalia County, West Virginia, captioned Valhalla Housing III, LLC v.

Guilford Realty, LLC, et al., Civil Action No. 20-C-230.

       2.      In the Complaint, Valhalla alleges that Defendants breached contractual and

fiduciary duties by not consummating sales of limited partnership interests in two limited

partnerships in which Valhalla is the general partner at prices purportedly determined using non-

final appraisal reports, about which Defendants have raised legitimate methodological and other

concerns. Among other relief, Valhalla seeks declaratory and injunctive relief requiring

Defendants to consummate the sales, as well as unspecified “actual and consequential damages”

and “enhanced exemplary and punitive damages.” See Compl. at Prayer for Relief.

                           Basis for Removal - Diversity Jurisdiction

       3.      This civil action falls under this Court’s original jurisdiction pursuant to 28 U.S.C.

§ 1332 (diversity of citizenship). There is complete diversity of citizenship between Plaintiff and

Defendants, because Plaintiff is not a citizen of the same state as any Defendant, as set forth below.

The amount in controversy exceeds $75,000, exclusive of interest and costs, as also set forth below.

The case thus may be removed to this Court pursuant to 28 U.S.C. § 1441. See Thermatron Prods.

v. Hermansdorfer, 423 U.S. 336, 345 n.9 (1976) (removal is non-discretionary when case is


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properly removed and within federal court’s jurisdiction); Blake v. Ace Am. Ins. Co, 2008 U.S.

Dist. LEXIS 19215 at *7-8 (S.D. W.Va. March 11, 2008) (citing Kolibash v. Comm. on Legal

Ethics of W. Va., 872 F.2d 571, 573 (4th Cir. 1989)).

                                         Diversity of Citizenship

        4.      Citizenship of Plaintiff Valhalla. Plaintiff Valhalla is a West Virginia limited

liability company with its principal place of business in Ohio. See Compl. ¶ 1; see also W. Va.

Sec’y    of    State      Bus.   Info.    for   Valhalla    Housing   III,   LLC    (available    at

https://apps.sos.wv.gov/business/corporations/organization.aspx?org=178767; last accessed Aug.

31, 2020), attached as Exhibit A. Upon information and belief, the members of Valhalla, including

any members or partners of any members of Valhalla that are pass-through entities, are citizens of

either West Virginia or Ohio. See Ex. A. Plaintiff thus is a citizen of West Virginia and Ohio for

the purpose of determining diversity jurisdiction.

        5.      Citizenship of Defendant Guilford Realty. Defendant Guilford Realty is a Delaware

limited liability company. See Compl. ¶ 2. The sole member of Guilford Realty is a Delaware

limited liability company, the sole member of which is a Maryland limited liability company, the

sole member of which is a Delaware limited liability company, the sole member of which is a

Delaware limited liability company, the sole member of which is a Texas limited partnership, the

partners of which are: (a) individual citizens of Texas; (b) a Nevada limited liability company, the

members of which are individual citizens of Texas; and (c) a Nevada limited liability company,

the sole member of which is a Delaware corporation with its principal place of business in Texas.

Guilford Realty thus is not a citizen of either West Virginia or Ohio for the purpose of determining

diversity jurisdiction.


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        6.      Citizenship of Defendant Guilford 27. Defendant Guilford 27 is a Delaware limited

partnership. The partners of Guilford 27 are:

                (1) a Delaware limited liability company, the sole member of which is a Delaware

             limited liability company, the sole member of which is a Maryland limited liability

             company, the sole member of which is a Delaware limited liability company, the sole

             member of which is a Delaware limited liability company, the sole member of which

             is a Texas limited partnership, the partners of which are: (a) individual citizens of

             Texas; (b) a Nevada limited liability company, the members of which are individual

             citizens of Texas; and (c) a Nevada limited liability company, the sole member of which

             is a Delaware corporation with its principal place of business in Texas; and

                (2) a Delaware limited liability company, the sole member of which is a Delaware

             limited liability company, the sole member of which is a Delaware limited liability

             company, the sole member of which is a Texas limited partnership, the partners of

             which are: (a) individual citizens of Texas; (b) a Nevada limited liability company, the

             members of which are individual citizens of Texas; and (c) a Nevada limited liability

             company, the sole member of which is a Delaware corporation with its principal place

             of business in Texas.

Guilford 27 thus is not a citizen of either West Virginia or Ohio for the purpose of determining

diversity jurisdiction.

        7.      Citizenship of Defendant Hunt ELP. Defendant Hunt ELP is a Texas limited

partnership, the partners of which are: (a) individual citizens of Texas; (b) a Nevada limited

liability company, the members of which are individual citizens of Texas; and (c) a Nevada limited


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liability company, the sole member of which is a Delaware corporation with its principal place of

business in Texas. Hunt ELP thus is not a citizen of either West Virginia or Ohio for the purpose

of determining diversity jurisdiction.

       8.      Citizenship of Defendant 1998 Fund. Defendant 1998 Fund is an Alabama limited

partnership. The partners of 1998 Fund are:

               (1) a Delaware limited liability company, the sole member of which is a Delaware

            limited liability company, the sole member of which is a Maryland limited liability

            company, the sole member of which is a Delaware limited liability company, the sole

            member of which is a Delaware limited liability company, the sole member of which

            is a Texas limited partnership, the partners of which are: (a) individual citizens of

            Texas; (b) a Nevada limited liability company, the members of which are individual

            citizens of Texas; and (c) a Nevada limited liability company, the sole member of which

            is a Delaware corporation with its principal place of business in Texas; and

               (2) an Alabama limited partnership, the partners of which are:

                   (a) a Delaware limited liability company, the sole member of which is a

               Delaware limited liability company, the sole member of which is a Delaware

               limited liability company, the sole member of which is a Texas limited partnership,

               the partners of which are: (i) individual citizens of Texas; (ii) a Nevada limited

               liability company, the members of which are individual citizens of Texas; and (iii)

               a Nevada limited liability company, the sole member of which is a Delaware

               corporation with its principal place of business in Texas;




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                    (b) a Delaware limited liability company, the sole member of which is a

                Delaware limited liability company, the sole member of which is a Maryland

                limited liability company, the sole member of which is a Delaware limited liability

                company, the sole member of which is a Delaware limited liability company, the

                sole member of which is a Texas limited partnership, the partners of which are: (a)

                individual citizens of Texas; (b) a Nevada limited liability company, the members

                of which are individual citizens of Texas; and (c) a Nevada limited liability

                company, the sole member of which is a Delaware corporation with its principal

                place of business in Texas; and

                    (c) a Mississippi corporation with its principal place of business in Mississippi.

1998 Fund thus is not a citizen of either West Virginia or Ohio for the purpose of determining

diversity jurisdiction.

        9.      Citizenship of Defendant 1997 Fund. Defendant 1997 Fund is an Alabama limited

partnership. The partners of 1997 Fund are:

                (1) a Delaware limited liability company, the sole member of which is a Delaware

             limited liability company, the sole member of which is a Maryland limited liability

             company, the sole member of which is a Delaware limited liability company, the sole

             member of which is a Delaware limited liability company, the sole member of which

             is a Texas limited partnership, the partners of which are: (a) individual citizens of

             Texas; (b) a Nevada limited liability company, the members of which are individual

             citizens of Texas; and (c) a Nevada limited liability company, the sole member of which

             is a Delaware corporation with its principal place of business in Texas; and


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                (2) an Alabama limited partnership, the partners of which are:

                    (a) a Delaware limited liability company, the sole member of which is a

                Delaware limited liability company, the sole member of which is a Delaware

                limited liability company, the sole member of which is a Texas limited partnership,

                the partners of which are: (i) individual citizens of Texas; (ii) a Nevada limited

                liability company, the members of which are individual citizens of Texas; and (iii)

                a Nevada limited liability company, the sole member of which is a Delaware

                corporation with its principal place of business in Texas; and

                    (b) a Delaware limited liability company, the sole member of which is a

                Delaware limited liability company, the sole member of which is a Maryland

                limited liability company, the sole member of which is a Delaware limited liability

                company, the sole member of which is a Delaware limited liability company, the

                sole member of which is a Texas limited partnership, the partners of which are: (a)

                individual citizens of Texas; (b) a Nevada limited liability company, the members

                of which are individual citizens of Texas; and (c) a Nevada limited liability

                company, the sole member of which is a Delaware corporation with its principal

                place of business in Texas.

1997 Fund thus is not a citizen of either West Virginia or Ohio for the purpose of determining

diversity jurisdiction.

        10.     Citizenship of Defendant Guilford XIX. Defendant Guilford XIX is an Alabama

limited partnership. The partners of Guilford XIX are:




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                 (1) a Delaware limited liability company, the sole member of which is a Delaware

              limited liability company, the sole member of which is a Maryland limited liability

              company, the sole member of which is a Delaware limited liability company, the sole

              member of which is a Delaware limited liability company, the sole member of which

              is a Texas limited partnership, the partners of which are: (a) individual citizens of

              Texas; (b) a Nevada limited liability company, the members of which are individual

              citizens of Texas; and (c) a Nevada limited liability company, the sole member of which

              is a Delaware corporation with its principal place of business in Texas; and

                 (2) a Delaware limited liability company, the sole member of which is a Texas

              limited partnership, the partners of which are: (a) individual citizens of Texas; (b) a

              Nevada limited liability company, the members of which are individual citizens of

              Texas; and (c) a Nevada limited liability company, the sole member of which is a

              Delaware corporation with its principal place of business in Texas.

Guilford XIX thus is not a citizen of either West Virginia or Ohio for the purpose of determining

diversity jurisdiction.

                                       Amount in Controversy

        11.      Plaintiff seeks declaratory and injunctive relief compelling Defendants to transfer

to Plaintiff limited partnership interests, the value of which well exceeds $75,000. See Francis v.

Allstate Ins. Co., 709 F.3d 362, 367 (4th Cir. 2013) (“In actions seeking declaratory or injunctive

relief, it is well established that the amount in controversy is measured by the value of the object

of the litigation.”) (quoting Hunt v. Washington State Apple Adver. Comm’n, 432 U.S. 333, 347




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(1977)). The value of the limited partnership interests that are the object of this litigation is

supported by the Declaration of Mary Stoddard, attached as Exhibit B.

       12.     In addition to declaratory and injunctive relief compelling transfer of the limited

partnership interests that Defendants value in excess of $500,000, Plaintiff seeks other actual and

consequential damages, including for alleged “increased interest expenses for the commercial

indebtedness of the Limited Partnerships,” alleged deterioration and depreciation of the

multifamily housing developments owned by the limited partnerships, and alleged “economic

harm” from Plaintiff’s compliance with financial reporting requirements. See Compl. ¶¶ 36-39; id.

at Prayer for Relief. Plaintiff also seeks “exemplary and punitive damages” on the basis of

Defendants’ alleged “willful, intentional, and egregious conduct.” Id. at Prayer for Relief. Upon

information and belief, the total amount of Plaintiff’s claimed monetary damages exceeds $75,000,

exclusive of interest and costs. See Ellenburg v. Spartan Motors Chassis, Inc., 519 F.3d 192, 200

(4th Cir. 2008) (notice pleading standard equally applicable to notice of removal as to plaintiff’s

complaint).

                               Compliance with 28 U.S.C. § 1446

       13.     In accordance with 28 U.S.C. § 1446(a), a copy of the Complaint and Summonses

served on all Defendants, which constitute “all process, pleadings, and orders served upon”

Defendants to date, is attached as Exhibit C. A copy of the Electronic Docket for the case in the

Circuit Court of Monongalia County, West Virginia, is attached as Exhibit D.

       14.     In accordance with 28 U.S.C. § 1446(b), this Notice of Removal to the United

States District Court for the Northern District of West Virginia is timely filed by Defendants within

30 days after receipt by Defendants of a copy of the initial pleading setting forth the claim for


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relief upon which the action is based. Defendants first received a copy of the initial pleading on

August 11, 2020.

       15.     In accordance with 28 U.S.C. § 1446(d), Defendants will promptly give written

notice of this Notice of Removal to Plaintiff and will file a copy of the same with the Clerk of the

Circuit Court of Monongalia County, West Virginia. A copy of that notice is attached as Exhibit E.

                                      Reservation of Rights

       16.     By this Notice of Removal, Defendants do not waive, and expressly reserve, all

substantive and procedural defenses, including but not limited to defenses that the Complaint fails

to state a claim upon which relief can be granted or that this Court lacks personal jurisdiction over

any or all Defendants.

       WHEREFORE, this action is hereby removed to the United States District Court for the

Northern District of West Virginia.



Dated: September 10, 2020                     Respectfully submitted,


                                              /s/ Michael C. Cardi
                                              Stuart A. McMillan, Esq. (WVSB # 6352)
                                              BOWLES RICE LLP
                                              600 Quarrier Street
                                              Charleston, WV 25301
                                              (304) 347-1110 (telephone)
                                              (304) 347-1746 (facsimile)
                                              smcmillan@bowlesrice.com

                                              Michael C. Cardi, Esq. (WVSB # 12228)
                                              BOWLES RICE LLP
                                              University Town Centre
                                              125 Granville Square, Suite 400
                                              Morgantown, WV 26501
                                              (304) 285-2561 (telephone)

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                                  (304) 285-2575 (facsimile)
                                  mcardi@bowlesrice.com


                                  Applications for Admission Pro Hac Vice
                                  Forthcoming:

                                  Louis E. Dolan, Jr.
                                  Brian P. Donnelly
                                  NIXON PEABODY LLP
                                  799 Ninth Street, NW, Suite 500
                                  Washington, D.C. 20001-4501
                                  (202) 585-8818 (telephone)
                                  (202) 585-8080 (facsimile)
                                  ldolan@nixonpeabody.com
                                  bdonnelly@nixonpeabody.com

                                  Counsel for Defendants




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                                CERTIFICATE OF SERVICE

         The undersigned does hereby certify that on the 10th day of September 2020, the foregoing

“Notice of Removal” was filed with this Court using the CM/ECF system.

         The undersigned further certifies that service of the foregoing Notice of Removal was

made this 10th day of September 2020, on counsel of record by mailing a true and exact copy of

the same, in a properly stamped and addressed envelope, to the following:

                                      Keith J. Pappas, Esq.
                                      176 Fayette Street
                                      Morgantown, WV 26505
                                      kpappaslaw@labs.net
                                      Counsel for Plaintiff



                                                     /s/ Michael C. Cardi
                                                     Michael C. Cardi (WVSB # 12228)




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